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                          Exhibit 008
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                                          Exhibit 8 – Bellwether Damages Table

                                                                                                   Punitive
                                        Pain and                                    Total          Damages
                                        Suffering                Prejudgment    Compensatory      (distributed      Post-
      Plaintiff            Date of       and/or      Economic      Interest       Damages        proportionally   Judgment
(Relation to Victim)       Attack       Solatium     Damages      Multiplier1     Including         based on       Interest
                                        Damages                                 Prejudgment      compensatory
                                                                                   Interest         damages
                                                                                                     award)
Rita Blodgett            07/21/2004   $10M
(Mother)*2
                                                                 2.542489         $25,424,890

Christina Linden         04/28/2005   $10M
                                                                 2.427981         $24,279,810
(Spouse)

Jason Rockholt           04/28/2005   $3.125M
                                                                 2.427981          $7,587,441
(Brother)*

Sgt. Adam                08/21/2005   $9M           $1,906,778   2.375123
Kisielewski (ret.)                                               (not applied     $23,282,885
(Victim)*                                                        to economic                    $1,104,594,438
                                                                 damages)
                                                                                                  (2x Total         Yes
Rita Zoucha              06/09/2006   $6.25M                                                    Compensatory
                                                                 2.233076         $13,956,725
(Mother)*                                                                                         Damages)

Brandon Clevenger        02/08/2007   $2.5M
                                                                 2.134175          $5,335,438
(Brother)

Roger Kurtz (Father)     02/11/2007   $5M                        2.132959         $10,664,795

Stephanie Kurtz          02/11/2007   $3.125M
                                                                 2.132959          $6,665,497
(Sister)*

Norma Estes (Half-       03/05/2007   $3.75M
                                                                 2.123237          $7,962,139
Sister)*

Patricia Grassbaugh      04/07/2007   $5M
                                                                 2.110275         $10,551,375
(Mother)




           1
             The prejudgment interest multiplier was calculated using the method outlined in Ewan v. Islamic
           Republic of Iran, 466 F. Supp. 3d 236, 251 (D.D.C. 2020), as well as an estimated judgment date
           of July 1, 2024. Ex. 101, Monthly interest rates dating back to 2004, were found online, through
           the Federal Reserve at https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H15 (last
           visited October 18, 2023).
           2
               Plaintiffs identified with an asterisk seek upward departures in their damages awards.
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                                       Exhibit 8 – Bellwether Damages Table

                                                                                               Punitive
                                     Pain and                                    Total         Damages
                                     Suffering               Prejudgment     Compensatory     (distributed      Post-
      Plaintiff          Date of      and/or     Economic      Interest        Damages       proportionally   Judgment
(Relation to Victim)     Attack      Solatium    Damages      Multiplier1      Including        based on       Interest
                                     Damages                                 Prejudgment     compensatory
                                                                                Interest        damages
                                                                                                 award)
Michael Summers        05/28/2007   $3.125M
                                                             2.089616           $6,530,050
(Half-Brother)*

Nanette West           05/28/2007   $7.5M
                                                             2.089616          $15,672,120
(Mother)*

Clark West (Father)    05/28/2007   $5M                      2.089616          $10,448,080

Patty Jett (Mother)*   10/14/2007   $7.5M                    2.034525          $15,258,938

Shelia Towns           10/24/2007   $9M
                                                             2.030474          $18,274,266
(Spouse)

Martha Cabe            01/09/2008   $6.25M
                                                             2.006513          $12,540,706
(Mother)*

Sarah Lambert          01/09/2008   $2.5M
                                                             2.006513           $5,016,283
(Sister)

Duane Pionk            01/09/2008   $5M
                                                             2.006513          $10,032,565
(Father)

Jonathan Krause        04/09/2004   $5M
                                                             2.57953           $12,897,650
(Son)

Gerald Krause          04/09/2004   $5M
(Brother/Functional
                                                             2.57953           $12,897,650
Equivalent of
Father)*

Lisa Kaufman           04/09/2004   $10M
                                                             2.57953           $25,795,300
(Daughter)*

Alexandria Parks       04/09/2004   $5M
                                                             2.57953           $12,897,650
(Stepdaughter)

Felicia Bell Carter    04/09/2004   $2.5M
                                                             2.57953            $6,448,825
(Sister)




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                                        Exhibit 8 – Bellwether Damages Table

                                                                                                Punitive
                                      Pain and                                    Total         Damages
                                      Suffering               Prejudgment     Compensatory     (distributed      Post-
      Plaintiff           Date of      and/or     Economic      Interest        Damages       proportionally   Judgment
(Relation to Victim)      Attack      Solatium    Damages      Multiplier1      Including        based on       Interest
                                      Damages                                 Prejudgment     compensatory
                                                                                 Interest        damages
                                                                                                  award)
Michael Bell            04/09/2004   $2.5M
                                                              2.57953            $6,448,825
(Brother)

Milissa Wojtowicz       04/11/2004   $7.5M
                                                              2.578804          $19,341,030
(Daughter)*

Virginia Maitland       04/11/2004   $5M
                                                              2.578804          $12,894,020
(Daughter)

Ashley LeGrand          06/12/2007   $12M
                                                              2.083945          $25,007,340
Rawlings (Spouse)

K.L., a minor           06/12/2007   $5M
                                                              2.083945          $10,419,725
(Daughter)

Kelly Inman (Sister)*   01/28/2008   $3.125M                  2.003173           $6,259,916

Natalie Jackson         01/28/2008   $11M
                                                              2.003173          $22,034,903
(Spouse)

Andrew Marshall         01/28/2008   $5M
                                                              2.003173          $10,015,865
(Father)

Sheila Marshall         01/28/2008   $5M
                                                              2.003173          $10,015,865
(Mother)

Brandi Yanez            01/28/2008   $3.75M
                                                              2.003173           $7,511,899
(Sister)*

Tara Roberts            05/14/2004   $5M
                                                              2.56682           $12,834,100
(Daughter)

Jacob Kosky             10/14/2004   $5M
                                                              2.512347          $12,561,735
(Stepson)

Nancy Poulin (Sister)   12/21/2004   $2.5M                    2.487388           $6,218,470

Noe Orosco, Sr.         12/09/2005   $5M
                                                              2.324603          $11,623,015
(Father)




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                                       Exhibit 8 – Bellwether Damages Table

                                                                                                  Punitive
                                     Pain and                                       Total         Damages
                                     Suffering                   Prejudgment    Compensatory     (distributed      Post-
      Plaintiff          Date of      and/or       Economic        Interest       Damages       proportionally   Judgment
(Relation to Victim)     Attack      Solatium      Damages        Multiplier1     Including        based on       Interest
                                     Damages                                    Prejudgment     compensatory
                                                                                   Interest        damages
                                                                                                    award)
Josef Pautsch          04/10/2009   $2.5M
                                                                 1.927884         $4,819,710
(Brother)

Becky Johnson          04/10/2009   $6.25M
                                                                 1.927884        $12,049,275
(Mother)*

Marla Van Cannon       01/20/2007   $3.75M
                                                                 2.141466         $8,030,498
(Sister)*

Michael Van Cannon     01/20/2007   $3.125M
                                                                 2.141466         $6,692,081
(Brother)*

Richard Gervasi II     02/18/2007   $2.5M
                                                                 2.130124         $5,325,310
(Half-Brother)

Cheryl Felder Stuart   04/24/2004   $5M
                                                                 2.574083        $12,870,415
(Mother)

Manaser Orton          04/24/2004   $6.25M
                                                                 2.574083        $16,088,019
(Adopted Son)*

Alan Bean, Sr.         05/25/2004   $5M
                                                                 2.562825        $12,814,125
(Father)

Total Compensatory
                                    $242,875,000   $1,906,778                    $552,297,219
Damages Awards:




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